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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 19-cr-00098-CMA

UNITED STATES OF AMERICA,

       Plaintiff,

v.

     1. LEONARD LUTON, and
     2. RAJAY DOBSON,

       Defendants.


                             SUPERSEDING INDICTMENT



The Grand Jury charges:

                                      COUNT 1
                                Attempt and Conspiracy

       1.      From in or about February 2018, through January 22, 2019, in the State

and District of Colorado and elsewhere, the defendants LEONARD LUTON and RAJAY

DOBSON, did knowingly combine, conspire, confederate, and agree with each other

and with other persons known and unknown to the Grand Jury, to commit the offense of

mail fraud in violation of Title 18, United States Code, Section 1341.

       I.      Purpose of the Conspiracy

       2.      The purpose of the conspiracy was to defraud victim S.O., an 80-year-old

Colorado resident, whose identity is known to the Grand Jury, by convincing S.O. that

she had won a lottery and needed to make certain payments in order to collect the

winnings.


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      II.    Manner and Means of the Conspiracy

      3.     Acting interdependently, the conspirators carried out the conspiracy using

the following manner and means:

             a.     LEONARD LUTON and RAJAY DOBSON contacted and caused to

be contacted S.O. by mailing her a flyer falsely and fraudulently indicating she won

$2,800,000 from a lottery drawing in Spain. The flyer informed S.O. that she was

required to remit 5% of the total amount of the winnings to a promotional company in

order to receive her winnings.

             b.     LEONARD LUTON and RAJAY DOBSON contacted and caused to

be contacted S.O. by telephone. One of the individuals who called S.O. identified

himself as Frank White.

             c.     White directed S.O. to make the payments she owed in various

ways, to include mailing via private and commercial interstate carriers, such as the

United Parcel Service (UPS) and Federal Express (FedEx), cashier’s checks and

packages containing cash.

             d.     White also directed S.O. to purchase and mail iPhones to

addresses to which LEONARD LUTON had access.

             e.     White directed S.O. to mail cashier’s checks and packages of cash

to addresses to which LEONARD LUTON and his associates had access.

             f.     Specifically, White directed S.O. to mail some of the cashier’s

checks to S.P. in Michigan. Once deposited, S.P. was directed to obtain cashier’s

checks made payable to Defendant LEONARD LUTON.



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             g.        White also directed S.O. to mail two cashier’s checks each in the

amount of $15,000 to L.W. in Connecticut.

             h.        LEONARD LUTON, RAJAY DOBSON and others communicated

with each other via text messages and other messaging services about the addresses

where certain of S.O.’s packages would arrive and the tracking numbers associated

with those mailings.

             i.        White directed S.O. to wire funds to S.P. in Michigan.

             j.        LEONARD LUTON directed others to wire funds to Jamaica.

             k.        White directed S.O. to hand over $65,000 in cash to a person who

came to her home in Colorado, which she did.

             l.        White also directed S.O. to hand over approximately $39,000 in

cash to a person who came to her home in Colorado.

             m.        Through this lottery scheme, Defendants LEONARD LUTON and

RAJAY DOBSON defrauded S.O. out of over $700,000.

      All in violation of Title 18, United States Code, Section 1349.

                                      COUNTS 2 -10
                              Aiding and Abetting Mail Fraud

      4.     The Grand Jury re-alleges and incorporates Paragraph 3(a) through (m) of

this Superseding Indictment.

      5.     From in or about February, 2018, through January 22, 2019, in the State

and District of Colorado and elsewhere, the defendants LEONARD LUTON and RAJAY

DOBSON, devised and intended to devise, a scheme and artifice to defraud victim S.O.,

and to obtain property, to wit, United States currency and iPhones, by means of false

and fraudulent pretenses, representations, and promises.


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         6.       On or about the dates listed below for each count, in the State and District

of Colorado, LEONARD LUTON and RAJAY DOBSON, for the purpose of executing the

lottery scheme described above, knowingly caused and aided and abetted another who

knowingly caused to be delivered by private and commercial interstate carriers,

cashier’s checks, cash, and iPhones, according to the direction thereon, as identified

below:


 Count        Date (on or about)           Description of Mailing

 2            March 29, 2018               $9,095.75 mailed to S.P. in Grandville, MI


 3            April 3, 2018                $9,095.75 mailed to S.P. in Grandville, MI


 4            April 16, 2018               $45,000 mailed to S.P. in Grandville, MI


 5            July 27, 2018                $20,000 mailed to Frank White in Jamaica, NY


 6            September 6, 2018            $15,000 mailed to M.W. in Toms River, NJ


 7            September 25, 2018           $20,000 mailed to J.A. in Toms River, NJ


 8            October 22, 2018             Two iPhones mailed to J.A. in Brooklyn, NY


 9            October 30, 2018             Two iPhones mailed to J.A. in Brooklyn, NY


 10           November 7, 2018             $15,000 mailed to T.W. in Brooklyn, NY



         All in violation of Title 18, United States Code, Sections 1341 and 2.




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                                       FORFEITURE

   7. Upon conviction of the violations alleged in Counts 1 through 10 of this

Indictment, in violation of Title 18, United States Code, Sections 1341, 1349, and 2,

Defendants LEONARD LUTON and RAJAY DOBSON shall forfeit to the United States,

pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461(c), any and all of their right, title, and interest in all property

constituting and derived from any proceeds they obtained directly and indirectly as a

result of such scheme, including, but not limited to:

   8. The entry of a money judgment in the amount of proceeds obtained by the

scheme and by the defendants.

   9.   If any of the property described in paragraph 8 above, as a result of any act or

omission of Defendants LEONARD LUTON or RAJAY DOBSON:

              a)     cannot be located upon the exercise of due diligence;

              b)     has been transferred or sold to, or deposited with, a third

                     party;

              c)     has been placed beyond the jurisdiction of the Court;

              d)     has been substantially diminished in value; or

              e)     has been commingled with other property which

                     cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 28, United States Code, Section




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2461(c), incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of

any other property of Defendants LEONARD LUTON and RAJAY DOBSON up to the

value of the forfeitable property.



                                             A TRUE BILL



                                             Ink signature on file in Clerk’s Office
                                             Foreperson




JASON R. DUNN
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